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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, .
Criminal No. 05-81165

Plaintiff,
HON, DENISE PAGE HOOD
Vv.
Vios.: 21 U.S.C. § 846
D-1, KHAOPHONE SYCHANTHA, 21 US.C. § 841(a)(1)
D-2, DAVID SOK, 21 U.S.C. § 841(b)(1)(A)(viii)
D-3, MAMIE ARTERBERRY, 21 U.S.C. § 841(b)(1)(B)viii)
D-4, RICHARD ARTERBERRY, 21 U.S.C. § 841(b)1VC)
18 U.S.C. § 2
Defendants.
/ "3
FIRST SUPERSEDING INDICTMENT °. 3
: {
J
THE GRAND JURY CHARGES: : 5
COUNT ONE =

(21 U.S.C. § 846, 841(a)(1), 841(b)C1 (A)(viii),(B) (vii), (viii), (Cys
Conspiracy to Possess with Intent to Distribute and
Distribute a Controlled Substance)

D-1, KHAOPHONE SYCHANTHA
D-2, DAVID SOK
D-3, MAMIE ARTERBERRY
D-4, RICHARD ARTERBERRY
Beginning on or about May 1, 2003 and continuing through on or about

January 2011, in the Eastern District of Michigan, Southern Division, and

elsewhere, Defendants KHAOQPHONE SYCHANTHA, DAVID SOK, MAMIE
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ARTERBERRY and RICHARD ARTERBERRY, together with others known and

unknown to the grand jury, did knowingly, intentionally and untawfully combine,

conspire, confederate and agree to commit an offense against the United States,

that is, to possess, with the intention to distribute, and distribute one or more

controlled substances, specifically:

a substance containing a detectable amount of N-Benzylpiperazine,
also known as “BZP,” which is a schedule I controlled substance;

500 grams or more of a substance containing a detectable amount of
methamphetamine, which is a schedule II controlled substance;

5 grams or more of methamphetamine, which is a schedule II
controlled substance;

a substance containing a detectable amount of MDMA (3,4 -
methylenedioxymethamphetamine), also known as “ecstasy”, which is
a schedule I controlled substance; and,

100 kilograms or more of a substance containing a detectable amount
of marijuana, which is a schedule I controlled substance,

all in violation of Title 21, United States Code, Sections 846 and 841(a)(1).
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COUNT TWO
(21 U.S.C. § 841(a)(1), 841(b)G1)(C) — Possession with Intent
to Distribute a Controlled Substance)

D-1, KHAOPHONE SYCHANTHA
D-2, DAVID SOK
D-3, MAMIE ARTERBERRY

On or about December 18, 2008, in the Eastern District of Michigan,
Southern Division, Defendants KHAOPHONE SYCHANTHA, DAVID SOK, and
MAMIE ARTERBERRY did knowingly, intentionally and unlawfully possess

with the intent to distribute, and aid and abet each other, and others, in unlawfully

possessing with the intent to distribute, one or more controlled substances,

specifically:
e a substance containing a detectable amount of N-Benzylpiperazine,
also known as “BZP,” which is a schedule I controlled substance;
and,

e a substance containing a detectable amount of MDMA (3,4 -
methylenedioxymethamphetamine), also known as “ecstasy”, which is
a schedule I controlled substance:

all in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNT THREE
(21 U.S.C. § 841(a)(1),841(b)C1 (A) vill), (B (viii),(C) — Possession with Intent
to Distribute a Controlled Substance)

D-1, KHAOPHONE SYCHANTHA
D-3, MAMIE ARTERBERRY
D-4, RICHARD ARTERBERRY

On or about January 26, 2009, in the Eastern District of Michigan, Southern
Division, Defendants KHAOPHONE SYCHANTHA, MAMIE ARTERBERRY,
and RICHARD ARTERBERRY knowingly, intentionally and unlawfully possess
with the intent to distribute, and aid and abet each other, and others, in unlawfully
possessing with the intent to distribute, one or more controlled substances,

specifically:

e a substance containing a detectable amount of N-Benzylpiperazine,
also known as “BZP,” which is a schedule I controlled substance;

e 500 grams or more of a substance containing a detectable amount of
methamphetamine, which is a schedule II controlled substance;

e 5 grams or more of methamphetamine, which is a schedule II
controlled substance; and,

e a substance containing a detectable amount of MDMA (3,4 -
methylenedioxymethamphetamine), also known as “ecstasy”, which is

a schedule I controlled substance;

all in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNT FOUR
(21 U.S.C. § 841(a)C1), 841(b)(1)(C) — Possession with Intent
to Distribute a Controlled Substance)

D-1, KHAOPHONE SYCHANTHA

On or about January 10, 2011, in the Eastern District of Michigan, Southern
Division, Defendant KHAOPHONE SYCHANTHA did knowingly, intentionally
and unlawfully possess with the intent to distribute, and aid and abet each other,
and others, in unlawfully possessing with the intent to distribute, one or more
controlled substances, specifically:

e a substance containing a detectable amount of N-Benzylpiperazine,
also known as “BZP,” which is a schedule | controlled substance;
and,

e a substance containing a detectable amount of MDMA (3,4 -
methylenedioxymethamphetamine), also known as “ecstasy”, which is
a schedule I controlled substance:

all in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,
United States Code, Section 2.
FORFEITURE ALLEGATIONS

Pursuant to Fed.R.Cr.P. 32.2(a), the government hereby provides notice to

the defendant(s) of its intention to seek forfeiture of all proceeds, direct or

indirect, or property traceable thereto, all property that facilitated the commission

of the violations alleged, or property traceable thereto, and all] property involved
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in, or property traceable thereto, of the violations set forth in this Indictment.

THIS IS A TRUE BILL

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

Dated: C/- Gf $

BARBARA L. McQUADE
United States Attorney

s/Carl D. Gilmer-Hill (CA161939)
CARL D, GILMER-HILL
Assistant United States Attorney

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United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 05-81165

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

‘Reassignment/Recusal Information: this matter was opened in the USAO prior to August 15,2008 [ ]

“| Companion Case Number: 05-80573 & 11-20181

This may be a companion case based upon LCrR 57.10 (b)(4)’: Judge Assigned: DENISE PAGE HOOD

Yes [] No AUSA’s Initials: 7 PEW

Case Title: USAV. KHAOPHONE SYCHANTHA, et. al.,

County where offense occurred: Wayne

Check One: Felony [_] Misdemeanor L | Petty
indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
¥_Indictment/ Information --- based upon LCrR 57.10 (d) {Complete Superseding section below].

Superseding to Case No: 05-81165 Judge: Denise Page Hood

[J Original case was terminated; no additional charges or defendants.

[_] Corrects errors; no additional charges or defendants.

[_] Involves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Compiaint (if applicable)
D-2, David Sok nla
D-3, Mamie Arterberry nfa
D-4, Richard Arterberry n/a
Lo 1
Please take notice that the below listed Assistant Uifits States Aftorney is ne-Attorney of record for
the above captioned case. _
April 9, 2013 “
Date x D. Z. R-HILL /
ssistant United \Statés Attorney
211 W. Fort Stree? Suite 2001

Detroit, Ml 48226-3277

Phone: 313-226-9585

Fax: 313-226-3265

E-Mail address: carl.gilmer-hilk@usdoj.gov
Attorney Bar #: CA161939

‘ Companion cases are matiers in which it appears that (1) substantially similar evidence will be offered at trial, (2) the sare or related parties are present, and the cases arise out of the
same transaction cr occurrence. Gases may be companion cases even though one of them may have already been terminated. 04/13
